Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 1 of 20




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-02516-RBJ-KMT

  KHALFAN KHAMIS MOHAMED,

         Plaintiff,

  v.

  JONES,
  HUDDLESTON,
  OSAGIE,
  BRUSH,
  ESPINOZA,
  MILLER,
  LT. MURTON,
  LT. ARMIJO, and
  UNITED STATES OF AMERICA,

         Defendants.


             MOTION TO DISMISS SECOND AMENDED COMPLAINT IN PART
                     PURSUANT TO RULES 12(b)(6) AND 12(b)(1)

         In his Second Amended Complaint (“SAC”), ECF No. 64, Plaintiff sues under the First and

  Eighth Amendments and the Federal Tort Claims Act (“FTCA”). Plaintiff’s excessive-force,

  failure-to-intervene, and First Amendment claims against individually named defendants should be

  dismissed for lack of a Bivens remedy, and four Defendants are entitled to qualified immunity.

  The related official-capacity claims fail for failure to state a claim, as does the FTCA claim for

  negligent supervision, which is also not exhausted.

                                           BACKGROUND

         Plaintiff, an ADX inmate, was convicted of the al Qaeda-directed bombings of the U.S.

  Embassies in Tanzania and Kenya in August 1998. See United States v. Bin Laden, 156 F. Supp.
                                                    1
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 2 of 20




  2d 359, 360 (S.D.N.Y. 2001). While in BOP custody, Plaintiff helped a co-conspirator in the

  bombings attack a correctional officer. United States v. Salim, 287 F. Supp. 2d 250, 294-95, 355

  (S.D.N.Y. 2003). Here, he claims that ADX officers violated his rights. Specifically, Plaintiff

  alleges that on August 23, 2018, while he was on hunger strike, officers beat him and verbally

  insulted him after he attempted to stop at his cell during an escort. He further alleges that written

  materials were removed from his cell during this time period, and that medical staff were

  deliberately indifferent to the injuries that he sustained as a result of the use of force. A detailed

  timeline of the relevant factual allegations is attached hereto as Exhibit 1.1

            The following claims should be dismissed:2

      Claim          Defendant    Capacity                    Bases for dismissal

      Excessive      Brush        Individual                  No Bivens remedy
      Force          Miller       Individual                  No Bivens remedy
                     Espinoza     Individual                  No Bivens remedy
      Failure-to-    Armijo       Individual                  No Bivens remedy
      intervene      Murton       Individual                  No Bivens remedy
                     Osagie       Individual                  No Bivens remedy; qualified immunity
      Freedom of     Brush        Individual and official3    No Bivens remedy; qualified immunity;
      Speech                                                  no injunctive relief
      Deliberate     Jones        Individual and official4    Qualified immunity; no injunctive relief
      Indifference   Huddleston   Individual and official     Qualified immunity; no injunctive relief
                     Osagie       Individual and official     Qualified immunity; no injunctive relief
      Negligent      U.S.                                     Failure to exhaust and state claim
      Supervision


  1
    The SAC consists of 30 handwritten pages containing a plethora of allegations. In order to
  efficiently present the most pertinent allegations relevant to this motion, Defendants have
  followed the suggestion in this Court’s Practice Standards to provide a timeline of the key
  events. See RBJ Practice Standards at 3.
  2
    If this Motion is granted, the following claims will remain: Plaintiff’s battery claims against the
  United States (claims 11-13) and Plaintiff’s medical malpractice claims against the United States
  (claims 15A and 15B).
  3
    Plaintiff seeks an order that the confiscated materials be returned to him. SAC at 30.
  4
    Plaintiff seeks an order that he be evaluated by outside specialists and a psychiatrist. Id.
                                                     2
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 3 of 20




                                               ARGUMENT

          I.      The Court should not imply a Bivens remedy for the excessive force, failure-to-
                  intervene, and First Amendment claims.

          Plaintiff claims that Brush, Miller, and Espinoza used excessive force; that Armijo,

  Murton, and Osagie failed to intervene; and that Brush violated his First Amendment rights. See

  Ex. 1 at 1-3. All seven claims should be dismissed pursuant to Rule 12(b)(6) because special

  factors counsel against implying a novel Bivens remedy.

          Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971),

  recognized a limited “implied private action for damages against federal officers alleged to have

  violated a citizen’s constitutional rights” in a case involving a Fourth Amendment claim for

  unreasonable search and seizure. Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 66 (2001). The

  Court subsequently recognized a Bivens remedy in a Fifth Amendment equal-protection violation

  case, Davis v. Passman, 442 U.S. 228 (1979), and an Eighth Amendment failure-to-provide-

  adequate-medical-treatment case, Carlson v. Green, 446 U.S. 14 (1980). Since then, the Court

  “has consistently refused to extend Bivens to any new context.” Ziglar v. Abbasi, 137 S. Ct. 1843,

  1857 (2017) (“expanding the Bivens remedy is now a disfavored judicial activity”).

          In deciding whether to imply a Bivens remedy, a court must first determine whether the

  claim arises in a context that is different from Bivens, Davis, and Carlson. See Hernandez v. Mesa,

  140 S. Ct. 735, 743 (2020) (citing Malesko, 534 U.S. at 68). The context is new if it differs from

  previous Supreme Court cases due to, inter alia, the constitutional right at issue, the generality or

  specificity of the official action, the risk of disruptive intrusion by the judiciary into the functioning

  of other branches, or the presence of special factors that previous Bivens cases did not consider.

  Abbasi, 137 S. Ct. at 1860. If the context is new, the court must then assess: (1) whether any

                                                      3
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 4 of 20




  alternative process exists, and (2) whether special factors counsel hesitation in implying a remedy.

  See id. at 1858.

                 A.      First Amendment Claim

         The First Amendment claim here presents a new context. The allegedly improper removal

  of manuscripts and books from Plaintiff’s cell involves an entirely different constitutional right and

  factual context than Bivens, Carlson, and Green. Indeed, the Supreme Court has never found that

  Bivens extends to First Amendment claims. See, e.g., Minneci v. Pollard, 565 U.S. 118, 124

  (2012) (recognizing that the Court has not found a Bivens remedy for violations of First

  Amendment rights); Ashcroft v. Iqbal, 556 U.S. 662, 675 (2009) (citations omitted) (same).

         There are alternative processes available. First, Plaintiff can pursue a claim under the

  Small Claims Act, which allows “[t]he head of an agency” to “settle a claim for not more than

  $1,000 for damage to, or loss of, privately owned property that is caused by the negligence of an

  officer or employee of the United States Government acting within the scope of employment . . .”

  31 U.S.C. § 3723(a). Congress did not choose to impose individual liability through the Small

  Claims Act. Second, Plaintiff can seek a remedy under the prison grievance system. See 28 C.F.R.

  § 542.10; see also Malesko, 534 U.S. at 74 (recognizing prison grievance system as available

  alternative process counseling against extending Bivens); K.B. v. Perez, 664 F. App’x 756, 759

  (10th Cir. 2016) (same); see also ECF No. 64-1 at 4-6 (administrative remedy documents).

         There are additional special factors counseling judicial restraint. First, the Supreme Court

  has observed that there is “legislative action suggesting that Congress does not want a damages

  remedy” against individual correctional officers because it considered prisoner abuse in the context

  of the Prison Litigation Reform Act of 1996 (“PLRA”) and has “been active in the area of

  prisoners’ rights.” Abbasi, 137 S. Ct. at 1865. Congress’s decision not to provide a stand-alone
                                                    4
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 5 of 20




  damages remedy “suggests Congress chose not to extend the Carlson damages remedy to cases

  involving other types of prisoner mistreatment.” Id.; Schweiker v. Chilicky, 487 U.S. 412, 423

  (1998) (courts should not imply a damages remedy where Congress’s inaction “has not been

  inadvertent”). Separation-of-powers concerns are heightened in the prison context, where

  Congress is better suited than the judiciary to “balance the challenges prison administrators and

  officers face in maintaining prison security against the expansion of the private right of action for

  damages.” Morgan v. Shivers, No. 1:14-cv-7921-GHW, 2018 WL 618451, at *6 (S.D.N.Y. Jan.

  29, 2018); Bell v. Wolfish, 441 U.S. 520, 548 (1979) (“the operation of our correctional facilities is

  peculiarly the province of the Legislative and Executive Branches of our Government, not the

  Judicial”).

          Second, the Supreme Court recognized that the threat of personal liability could impede the

  proper functioning of BOP facilities by causing officials to alter their behavior and judgment to

  avoid individual liability, at the expense of institutional security and other critical prison-

  management decisions. Abbasi, 137 S. Ct. at 1863. Implying a damages remedy here would have

  a profound impact on BOP operations because officers’ desire to avoid liability may cause them to

  hesitate in their response to disobedient behavior such as that at issue here. This is precisely the

  compromise to security and critical management decisions that the Supreme Court envisaged in

  limiting Bivens. Abbasi, 137 S. Ct. at 1863. In addition, “the time and administrative costs

  attendant upon intrusions resulting from the discovery and trial process are significant factors to be

  considered.” Id. at 1856. That is why it rests with Congress “to determine whether, and the extent

  to which, monetary and other liabilities should be imposed upon individual officers . . . .” Id.

          Each of these concerns satisfies the “remarkably low” threshold for finding a special factor.

  Congress did not create a damages remedy in the First Amendment context, and the constant

                                                      5
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 6 of 20




  specter of lawsuits will stifle the ability of prison officials to effectively regulate and monitor the

  items that inmates maintain in their cells. The Court should therefore decline to extend a Bivens

  remedy to Plaintiff’s First Amendment claim. See, e.g., Millbrook v. Spitz, No. 18-cv-01962-RM-

  KMT, 2019 WL 4594275, at *4 (D. Colo. Sept. 23, 2019); Shepard v. Rangel, No. 12-cv-01108-

  RM-KLM, 2014 WL 7366662, at *17 (D. Colo. Dec. 24, 2014).

                  B.      Excessive Force and Failure-to-Intervene

          The claims present a new context. Here, allegations that an inmate stopped unexpectedly

  during an escort and was then subjected to a use of force in order to bring him under control bear

  “little resemblance” to Bivens, Carlson, and Green, particularly where that inmate was

  subsequently convicted by a Disciplinary Hearing Officer of attempted assault. See SAC at ¶ 108;

  Abdo v. Balsick, No. 18-cv-01622-KMT, 2019 WL 6726230, at *6 (D. Colo. Dec. 11, 2019). The

  claims therefore present a new context.5

          The Supreme Court has emphasized that “[a] claim may arise in a new context even if it is

  based on the same constitutional provision as a claim in a case in which a damages remedy was

  previously recognized.” Hernandez, 140 S. Ct. at 743. And whether the Tenth Circuit has

  “implicit[ly]” recognized the extension of Bivens to excessive force claims in the Fourth

  Amendment context,6 see Smith, 2021 WL 1799400, at *4-5, does not address the question of


  5
    The Court need not decide whether all excessive force and failure-to-intervene claims present
  new contexts, although courts in this district have often so held. See, e.g., Abdo, 2019 WL
  6726230, at *6 (“no question” that excessive force claim was new context); Millbrook, 2019 WL
  4594275, at *3-4 (new context where officer slammed handcuffed inmate’s head and shoulders
  against bars and stuck finger in inmate’s anus); but see, e.g., Smith v. Trujillo, No. 20-cv-00877-
  RBJ-NYW, 2021 WL 1799400, at *4-5 (D. Colo. Mar. 26, 2021), adopted, 2021 WL 1608829 (D.
  Colo. Apr. 26, 2021).
  6
    The cases cited in Smith neither implicitly nor explicitly countenance an extension of Bivens in
  the circumstances presented here. In Jones v. Theodoroff, 104 F. App’x 141 (10th Cir. 2004), the
  Tenth Circuit did not address whether a Bivens remedy existed. In Farmer v. Brennan, the
                                                     6
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 7 of 20




  whether there are meaningful differences between a particular case (i.e., this case) and previous

  contexts. See Abbasi, 137 S. Ct. at 1859. One meaningful difference, even in “almost parallel

  circumstances” is enough. Id. at 1859. As Smith recognized, excessive force claims are “not

  identical on all fours” to previous Bivens contexts. 2021 WL 1799400, at *4. That is sufficient to

  demonstrate a new context. The same is true for Plaintiff’s failure-to-intervene claims –

  allegations that officers failed to intervene to stop the use of force after an inmate stopped

  unexpectedly at his cell differ in meaningful ways from Bivens, Carlson, and Green.

          There are alternative processes. The availability of any alternative process for protecting a

  plaintiff’s interest may counsel against extending Bivens.7 Abbasi, 137 S. Ct. at 1858 (citations

  omitted). First, as discussed above, Plaintiff can seek a remedy under the prison grievance system.

  See, e.g., K.B., 664 F. App’x at 759. Second, Plaintiff can bring, and in fact has brought, claims

  under the FTCA, which, in the wake of Abbasi, several courts have acknowledged as an alternative

  process. See 28 U.S.C. § 2680(h) (recognizing remedy for assault by federal law enforcement);

  see, e.g., Oliva v. Nivar, 973 F.3d 438, 444 (5th Cir. 2020), cert. denied, (recognizing FTCA as

  alternative process for excessive force claim); Silva v. U.S., No. 19-cv-02563-CMA-MEH, 2020



  Supreme Court assumed, without deciding, that a Bivens remedy existed for a transsexual prisoner
  who was beaten and raped by another inmate after being housed in the general population. See 511
  U.S. 825, 829-30 (1994). Those facts bear no resemblance to the facts here, and Abbasi did not
  recognize Farmer as a case in which a Bivens remedy had been approved. In Graham v. Connor,
  the Court observed in dicta that the legal standard for analyzing Fourth Amendment excessive
  force claims under 42 U.S.C. § 1983 is the same as the standard for evaluating excessive force
  claims under Bivens. 490 U.S. 396, 394 n. 9 (1989). That is hardly a formal extension of Bivens.
  Nor were the facts in Graham similar to those presented here. Id. at 388-89.
  7
    An alternative process need not ultimately prove successful, Bowman v. Sawyer, No. 19-cv-1411-
  WJM-KMT, 2020 WL 6390992, at *5 (D. Colo. Nov. 2, 2020), or provide monetary damages. See,
  e.g., Schweiker v. Chilicky, 487 U.S. 412, 425 (1988) (declining to extend Bivens in the absence of
  alternative Bivens remedy); Huerta, 2019 WL 399229, at *15.

                                                     7
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 8 of 20




  WL 7706785, at *6 (D. Colo. Dec. 29, 2020) (same).

          Third, Plaintiff can seek injunctive relief. SAC at 30. Injunctive relief is “the proper

  means for preventing entities from acting unconstitutionally.” Malesko, 534 U.S. at 74

  (availability of injunctive relief is alternative process available to federal prisoners); see also

  Abbasi, 137 S.Ct. at 1863 (same); K.B., 664 F. App’x at 759 (same). Similarly, Plaintiff can

  invoke the mandamus statute to “compel an officer … of the United States” to address his alleged

  injuries. See 28 U.S.C. § 1361; see also Millbrook, 2019 WL 4594275, at *4.

          There are additional special factors counseling judicial restraint. The special factors set

  forth in section I.A., supra, counsel against extending Bivens to Plaintiff’s excessive force and

  failure-to-intervene claims. The Court should decline to find a remedy for these claims.8

          II.     Brush is entitled to qualified immunity on the First Amendment claim, and the
                  official-capacity claim also fails.

          Qualified immunity represents “an immunity from suit rather than a mere defense to

  liability.” Mitchell v. Forsyth, 472 U.S. 511, 526 (1986). Qualified immunity “is the norm in

  private actions against public officials,” who enjoy a “presumption of immunity when the defense

  of qualified immunity is raised.” Pahls v. Thomas, 718 F.3d 1210, 1227) (10th Cir. 2013) (internal

  quotations omitted). To overcome qualified immunity, Plaintiff must satisfy a heavy, two-part

  burden, showing that (1) the defendant’s own conduct violated a constitutional right, and (2) the

  right allegedly violated was clearly established at the time of the conduct. Patel v. Hall, 849 F.3d

  970, 980 (10th Cir. 2017).


  8
    This Court has observed that there is a seeming anomaly in allowing a state inmate to pursue
  damages for excessive force under 42 U.S.C. §1983 while barring such damages against federal
  officers. See Smith, 2021 WL 1608829, at *2. The Supreme Court has addressed that anomaly,
  concluding that despite passing Section 1983, “Congress did not create an analogous statute for
  federal officials.” See Abbasi, 137 S.Ct. at 1854 (emphasis added).
                                                    8
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 9 of 20




          Plaintiff has not plausibly alleged a violation of his First Amendment rights. Plaintiff

  alleges that Brush violated his First Amendment rights by removing from his cell 12 notebooks,

  three or four large manuscripts consisting of over 1,000 pages of material, other “shorter works,”

  notes summarizing 130-150 books, and multiple books, some with several volumes. SAC at ¶¶ 87-

  95. But ADX policy limits inmates to a maximum of eight books and two personal compositions

  or manuscripts. See Ex. 2, FLM 5580.08B, Inmate Personal Property (Nov. 28, 2019), at 3, 9.9

  Personal papers are limited to one cubic foot and “[m]anuscripts must not create a fire hazard, a

  housekeeping problem, or a security concern because of excess paper.” Id. at 3-4. The allegations

  demonstrate that Plaintiff’s materials far exceeded these limits.

          To state a First Amendment claim, a prisoner “‘must plead facts from which a plausible

  inference can be drawn that the action was not reasonably related to a legitimate penological

  interest.’” Al-Owhali v. Holder, 687 F.3d 1236, 1242 (10th Cir. 2012) (quoting Gee, 627 F.3d at

  1188). Plaintiff has pled no such facts. Indeed, the Tenth Circuit has held that a prison official

  does not violate a prisoner’s First Amendment rights “simply by enforcing a prison regulation

  limiting the number of books he could keep in his cell.” Neal v. Lewis, 414 F.3d 1244, 1248-49

  (10th Cir. 2005). And there are obvious “legitimate administrative and penological objectives”

  inherent in such limitations, including “fire safety, institutional security, control of the source and

  flow of property within the prison . . . .” Id. 1248. Plaintiff has not attempted to refute the

  government’s anticipated “usual justifications” for applying these limits to him. See Gee, 627 F.3d

  at 1186 (complaint must show why government’s anticipated “usual justifications” lack rational

  connection to challenged action). Plaintiff has thus failed to allege that Brush violated his First


  9
   The Court may take judicial notice of BOP policies. Matthews v. Wiley, 744 F. Supp. 2d 1159,
  1172 (D. Colo. 2010).
                                                 9
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 10 of 20




   Amendment rights.

          While Plaintiff appears to further contend that prison officials did not comply with BOP

   procedures regarding confiscated property, he does not allege that Brush personally participated in

   any decisions regarding the disposition of his property. See SAC at ¶¶ 99-100 (describing requests

   made to other prison officials to return written materials). And an alleged failure to adhere to a

   prison regulation does not amount to a constitutional violation. See, e.g., Williams v. Miller, 696 F.

   App’x 862 (10th Cir. 2017) (holding that “[m]erely showing that [prison officials] may have

   violated prison policy is not enough” to establish a constitutional violation) (citations omitted).

          There is no clearly established law. There is no particularized law that would have made it

   clear to Brush that he was violating Plaintiff’s rights by removing an excess of written materials

   from Plaintiff’s cell. Instead, Tenth Circuit precedent holds that a prison official does not violate a

   prisoner’s rights by enforcing such limits. See Neal, 414 F.3d at 1248-49 (10th Cir. 2005).

          Accordingly, Brush is entitled to qualified immunity.

          The related official-capacity claim fails. For the reasons above, Plaintiff has failed to plead

   a First Amendment violation, and the related official-capacity claim fails for the same reasons.

          III.    Osagie is entitled to qualified immunity on the failure-to-intervene claim.

          Osagie is entitled to qualified immunity on Plaintiff’s failure-to-intervene claim.

          Plaintiff has failed to allege Osagie’s personal participation. To establish a failure-to-

   intervene claim, Plaintiff must plausibly allege that Osagie observed or had reason to know of a

   constitutional violation, and had an opportunity to intervene. See Jones v. Norton, 809 F.3d 564,

   576 (10th Cir. 2015) (citing Vondrak v. City of Las Cruces, 535 F.3d 1198, 1210 (10th Cir. 2008)).

   The only non-conclusory allegations regarding Osagie’s involvement in the August 23, 2018,

   incident are: (1) Plaintiff “heard Osagie from the [observation] cell’s door, very close to where I
                                                     10
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 11 of 20




   was being beaten, saying approvingly ‘is he still resisting?’” and (2) Plaintiff called out to Osagie

   to ask whether he was witnessing the beating, but Osagie never responded. See SAC at ¶¶ 76-77.

           Plaintiff speculates that because Osagie’s voice sounded “very close” and Plaintiff was on a

   bed in the cell, “Osagie must have seen me and the beatings very easily[.]” Id. at ¶ 78. This

   allegation is conclusory and not entitled to a presumption of truth. See Iqbal, 556 U.S. at 678-79.

   And the remaining allegations do not plausibly allege that Osagie actually observed anything that

   happened in the observation cell. Indeed, all that can be plausibly inferred is that Osagie was

   standing near the observation cell and had been told that Plaintiff had been resisting. SAC at ¶ 76.

   The allegations about what Osagie heard and observed are equally consistent with legal conduct

   (i.e. that Osagie believed that Plaintiff had been resisting and that the officers were acting lawfully

   to regain control over Plaintiff). See Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 567-69

   (finding that plaintiffs had not “nudged their claims across the line from conceivable to plausible”

   where alleged conduct was consistent with lawful behavior); Iqbal, 556 U.S. at 681 (even though

   alleged conduct was “consistent” with discrimination, the allegations did not plausibly allege that

   conduct was discriminatory “given more likely explanations” for the actions).

           Thus, Osagie is entitled to qualified immunity because Plaintiff has failed to plausibly

   allege his personal participation in a constitutional violation. See, e.g., Pahls, 718 F.3d at 1228

   (emphasizing the importance of identifying specific actions taken by particular defendants).

           There is no clearly established law. Plaintiff’s conclusory allegations do not plausibly

   suggest that Osagie had “fair and clear warning” that a failure to intervene in a constitutional

   violation that he did not personally observe would violate Plaintiff’s constitutional rights. See

   White v. Pauly, 137 S. Ct. 548, 552 (2017) (citations omitted) (requiring identification of a case

   where an officer acting under similar circumstances committed a constitutional violation); see also
                                                   11
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 12 of 20




   Ashcroft v. Al-Kidd, 563 U.S. 731, 741 (2011) (emphasis added).

           IV.     Deliberate Indifference Claims

           Plaintiff brings Bivens and injunctive-relief claims asserting that Jones, Huddleston, and

   Osagie were deliberately indifferent to his medical needs by (1) refusing to examine or treat his

   ankle; (2) denying him pain medication; and (3) delaying an x-raying of his jaw and wrists.

                   A.      Jones, Huddleston, and Osagie are entitled to qualified immunity.

           A deliberate indifference claim has two components: (1) an objectively serious deprivation

   of care for a serious medical need; and (2) subjective knowledge, and disregard, of an excessive

   risk of serious harm. Farmer v. Brennan, 511 U.S. 825, 834, 837 (1994). The objective prong

   requires that the alleged deprivation be “‘sufficiently serious’” such that “a prison official’s act or

   omission must result in the denial of the ‘minimal civilized measure of life’s necessities.’” Id. 834

   (emphasis added). A prisoner must show “acts or omissions sufficiently harmful” that they

   “evidence deliberate indifference to serious medical needs.” Estelle v. Gamble, 429 U.S. 97, 106

   (1976)). To meet the objective component based on a delay in care, Plaintiff must allege that a

   delay “resulted in substantial harm.” Sealock v. Colorado, 218 F.3d 1205, 1210 (10th Cir. 2000).

           To satisfy the subjective prong, “the official must both be aware of facts from which the

   inference could be drawn that a substantial risk of serious harm exists, and he must also draw the

   inference.” Farmer, 511 U.S. at 828. In addition, Plaintiff’s allegations must plausibly show that

   each Defendant’s mental state was criminally culpable, “akin to ‘recklessness in the criminal

   law.’” Self v. Crum, 439 F.3d 1227, 1231 (10th Cir. 2006). This requirement is intended to

   “isolate[] those who inflict punishment.” Farmer, 511 U.S. at 837, 839 (it is not enough that an

   official “should have known” about a serious risk; instead, the official must actually perceive that

   risk and deliberately ignore it). A showing of negligent or inappropriate care is insufficient to
                                                    12
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 13 of 20




   plead the subjective prong. Self, 439 F.3d at 1233, 1235.

          Each of Plaintiff’s alleged injuries will be addressed in turn.

                          a.      Broken ankle

          Failure to plead subjectively culpable intent. As detailed in the timeline of the care that

   Plaintiff alleges receiving, see Ex. 1 at 3-4, Jones, Huddleston, and Osagie repeatedly examined

   and provided treatment for Plaintiff’s ankle. While the existence of a fracture was not immediately

   recognized, it was ultimately diagnosed and treated with a splint, followed by a hard cast (at the

   direction of an orthopedist), and by providing Plaintiff a wheelchair. SAC at ¶¶ 119, 139. Plaintiff

   received multiple x-rays and his ankle fracture healed. Id. at ¶¶ 120, 122; ECF No. 64-1 at 9.

          These facts do not plausibly show that Jones, Huddleston, or Osagie disregarded a known,

   substantial risk of harm with criminally reckless intent. See Lamb v. Norwood, 899 F.3d 1159,

   1162 (10th Cir. 2018), cert. denied, 140 S. Ct. 252 (2019) (medical providers “do not act with

   deliberate indifference when they provide medical treatment even if it is subpar”); see also Mata v.

   Saiz, 427 F.3d 745, 751 (10th Cir. 2005) (even “grossly negligent” medical judgment “is not

   subject to second-guessing in the guise of an Eighth Amendment claim.”). The Supreme Court has

   held that “the question whether … additional diagnostic techniques or forms of treatment [are]

   indicated is a classic example of a matter for medical judgment” that does not give rise to an

   Eighth Amendment claim. Estelle, 429 U.S. at 107; see also Sherman v. Klenke, 653 F. App’x

   580, 588 (10th Cir. 2016) (where “‘the dispute concerns not the absence of help, but the choice of a

   certain course of treatment, or evidences mere disagreement with considered medical judgment, we

   will not second guess the doctors’” (quoting Sires v. Berman, 834 F.2d 9, 13 (1st Cir. 1987)).

   Similarly, here, disputes concerning whether an x-ray should have been ordered sooner or whether

   ice was indicated are classic examples of medical judgments that are insufficient to establish a
                                                   13
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 14 of 20




   constitutional violation. Id. at 107; see also Irons v. Samu, No. 06-cv-02254-PAB-BNB, 2010 WL

   749797, at *10 (D. Colo. March 2, 2010) (“the application of ice is within the discretion of the

   health care provider.”). Plaintiff has therefore not sufficiently pleaded the subjective element of

   deliberate indifference as to Jones, Huddleston, or Osagie, entitling each to qualified immunity.

          Failure to plead objective deprivation. Plaintiff must allege that he suffered a serious harm

   as a result of any allegedly deficient treatment. See Stafford v. Stewart, 461 F. App’x 767, 769

   (10th Cir. 2012) (“[I]t is the harm claimed by the prisoner that must be sufficiently serious to

   satisfy the objective component, and not solely the symptoms presented at the time the prison

   employee has contact with the prisoner.” (internal citation and quotation marks omitted)). “The

   substantial harm requirement ‘may be satisfied by lifelong handicap, permanent loss, or

   considerable pain.’” Mata, 427 F.3d at 751 (quoting Garrett v. Stratman, 254 F.3d 946, 950

   (10th Cir. 2001)). Plaintiff received the proper casting upon discovery of his ankle fracture, and

   his ankle healed. See SAC at ¶¶ 119, 139; ECF No. 64-1 at 9. The only harm that Plaintiff

   attributes to the delay in diagnosis is that he experienced pain during the delay, which is the

   subject of Plaintiff’s separate claim about pain (discussed below). Plaintiff’s claim about his

   ankle – as distinct from his claim about pain – does not meet the objective component.

          No clearly established law. Plaintiff has not alleged that Jones, Huddleston, or Osagie

   violated any clearly established law “particularized to the facts of the case.” White, 137 S. Ct. at

   551-52. Defendants are aware of no precedent finding that prison medical providers violate the

   Constitution when they examine an inmate, order and review x-rays, and confer with an outside

   orthopedic specialist about the course of care to be administered.

                          b.      Failure to treat pain

          Failure to plead personal participation. Plaintiff alleges that his requests for pain
                                                    14
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 15 of 20




   medication were not filled by the commissary during his hunger strike, but that when he ended his

   hunger strike, he was able to obtain medications from the commissary, including ibuprofen,

   aspirin, and naproxen sodium.10 SAC at ¶¶ 146, 164-165; see also id. at ¶ 122 (ibuprofen provided

   by medical staff on December 6, 2018).11 Plaintiff has not alleged that Jones, Huddleston, or

   Osagie were responsible for any decision not to allow him to obtain medication from the

   commissary. Id. ¶ 164 (asserting that “commissary” did not fill his requests for pain medication).

   They are therefore entitled to qualified immunity.

           Failure to plead subjectively culpable intent.12 The well-pled facts do not plausibly show

   that Jones, Huddleston, or Osagie disregarded a known, substantial risk of harm with criminally

   reckless intent regarding Plaintiff’s complaints of pain. When Plaintiff stopped hunger-striking—a

   matter entirely within his control—he was able to get pain medication from the commissary. Id. at

   ¶¶ 164-165. At its core, Plaintiff’s claim arises from his opinions that he should have received pain

   medication while on hunger strike and/or that he should have received different pain medication.

   However, “a difference of opinion . . . as to the optimal pain-management regimen does not

   amount to deliberate indifference.” Todd v. Begelow, 497 F. App’x 839, 842 (10th Cir. 2012);


   10
      See BOP Program Statement P6541.02 (Nov. 17, 2014) (providing procedures for purchasing
   OTC medications, as well as procedures permitting indigent inmates to obtain OTC medications),
   available at https://www.bop.gov/policy/progstat/6541_002.pdf (last visited July 20, 2021).
   11
      Plaintiff also claims that his pain was exacerbated during forced feedings, SAC at ¶¶ 147-148,
   150-151, but he has no constitutional right to avoid forced feedings. Al-Adahi v. Obama, 596
   F.Supp. 2d 111, 120-121 (D.D.C. 2009) (force feedings and use of restraints during feedings arise
   from “a need to preserve the life of the Petitioners.”); Couch v. Godinez, No. 13-cv-1100-JPG,
   2014 WL 860801, at *5 (S.D. Ill. March 4, 2014) (citing Owens v. Hinsley, 635 F.3d 950, 955 (7th
   Cir. 2011)) (“It is well established that prison authorities have a right, and indeed a duty, to force-
   feed an inmate who persists in a hunger strike[.]”); Parmelee v. Clark, No. CV-13-5046-EFS, 2013
   WL 3777093, at *2 (E.D. Wash. July 17, 2013) (“It appears a prisoner would have no
   constitutionally protected right in avoiding forced nutrition . . . in response to a ‘hunger-strike.’”).
   12
      For purposes of this Motion only, Defendants do not argue the objective component with
   respect to Plaintiff’s claim regarding the alleged failure to treat his pain.
                                                      15
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 16 of 20




   Johnson v. Correct Care Sols., LLC, 2018 WL 7372075, at *9 (D. Colo. Nov. 21, 2018) (“Even if

   Defendants had in fact failed to provide Plaintiff with medication other than Aleve and Tylenol,

   [t]he failure to provide stronger pain medication does not constitute deliberate indifference.”

   (internal quotations and citations omitted)). And such a difference of opinion particularly negates

   an inference of criminally reckless intent in the context of a hunger strike, where pain medications

   may be legitimately refused. See, e.g., Lucio v. Santos, 600 F. App’x 480, 481-82 (7th Cir. 2015)

   (refusal to prescribe acetaminophen because inmate was on hunger strike was a legitimate medical

   reason); Lewis v. UTMB Medical Staff, No. 2:19-cv-223, 2019 WL 8012672, at *7 (S.D. Tex. Dec.

   13, 2019) (recommending dismissal of deliberate indifference claims for failure to treat pain

   because plaintiff alleged that defendants denied him pain medication because he was on hunger

   strike), adopted, No. 2:19-CV-223, 2020 WL 838537 (S.D. Tex. Feb. 20, 2020). Plaintiff has

   therefore not sufficiently alleged that Jones, Osagie, and Huddleston acted with criminally reckless

   intent. Cf. Slusher v Suthers, No. 01-cv-0229-PSF-BNB, 2006 WL 2846452, at *9 (D. Colo. Sept.

   29, 2006) (granting summary judgment in favor of prison medical staff because they knew that

   ibuprofen and other OTC medications could be purchased at prison canteen).

          No clearly established law. There is no clearly established law demonstrating that every

   reasonable officer would have known, beyond debate, that the management of Plaintiff’s

   complaints of pain amounted to a constitutional violation. See Al-Kidd, 563 U.S. at 741.

                          c.      Wrists and jaw

          Plaintiff alleges that he did not receive x-rays of his wrists and jaw until October 18, 2018.

   SAC at ¶ 117. However, Plaintiff does not sufficiently allege any underlying need for x-rays of his

   wrists and jaw. Although Plaintiff alleges that he experienced swelling and pain in his jaw and

   wrists, the x-rays were ultimately taken and were found to be normal. Id. at ¶ 115, 117.
                                                   16
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 17 of 20




   Accordingly, Plaintiff has not established an objective deprivation resulting in the denial of the

   “minimal civilized measure of life’s necessities.” Farmer, 511 U.S. at 834 (internal quotations

   omitted). Moreover, the allegations do not demonstrate that Jones, Huddleston, and Osagie each

   knew they were depriving Plaintiff of essential medical care with respect to his wrists and jaw. See

   id. at 837-38. Finally, Plaintiff cannot point to any clearly established law demonstrating that

   every reasonable officer in Defendants’ position would have known, beyond debate, that a delay in

   x-raying Plaintiff’s wrists and jaw amounted to a constitutional violation. See Al-Kidd, 563 U.S. at

   741. Jones, Osagie, and Huddleston are therefore entitled to qualified immunity.

                   B.      Plaintiff’s official-capacity claims should be dismissed.

           Plaintiff brings his deliberate indifference claims against Jones, Huddleston, and Osagie in

   both their individual and official capacities. SAC at 3 n.1. Plaintiff’s failure to allege deliberate

   indifference also requires dismissal of his official-capacity claims.13

           V.      Negligent Supervision Claim (Claim 14)

           Plaintiff brings a negligent supervision claim against the United States under the FTCA,

   which fails both because it is unexhausted and because he fails to state a claim for relief.14

           Failure to exhaust administrative remedies. Prior to filing an FTCA action, a plaintiff must

   exhaust his administrative remedies. See 28 U.S.C. § 2675. The Tenth Circuit has repeatedly

   stressed that this presentment requirement is “‘jurisdictional and cannot be waived.’” See, e.g.,



   13
      To the extent Plaintiff may seek money damages for his official-capacity claims, such damages
   are not available. See Matthews, 744 F.Supp.2d at 1167.
   14
      Plaintiff also asserts two claims for medical malpractice under the FTCA. SAC at ¶¶ 162-169.
   Plaintiff is required to provide a certificate of review in connection with his medical malpractice
   claims within sixty days of service of the SAC. See Colo. Rev. Stat. § 13-20-602. In the event that
   Plaintiff does not provide a certificate of review on or before August 23, 2021, Defendants intend
   to file an additional motion to dismiss the medical malpractice claims on that basis.
                                                        17
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 18 of 20




   Lopez v. United States, 823 F.3d 970, 976 (10th Cir. 2016) (quoting Bradley v. United States by

   Veterans Admin., 951 F.2d 268, 270 (10th Cir. 1991)). A claim is properly presented to an agency

   only if the claim “serves due notice that the agency should investigate the possibility of particular

   (potentially tortious) conduct.” Barnes v. United States, 707 F. App’x 512, 516 (10th Cir. 2017)

   (internal quotations and citations omitted). The key inquiry is whether the administrative claim

   notifies the agency of the need to investigate specific conduct, because “‘Congress wants agencies

   to have an opportunity to settle disputes before defending against litigation in court.’” Lopez, 823

   F.3d 976 (internal quotations and citations omitted).

           Courts routinely dismiss FTCA claims where critical facts related to those claims were not

   included in the administrative claim. In Barnes, the plaintiff’s negligent training and supervision

   claims were dismissed because the administrative claim included no mention of any possibility that

   the plaintiff’s injuries were caused by negligent training and supervision. 707 F. App’x at 516; see

   also Lopez, 823 F.3d at 977 (dismissing FTCA claim where administrative claim did not give

   notice that agency needed to investigate whether VA hospital was negligent in credentialing doctor

   who allegedly provided negligent care).

           Here, Plaintiff’s administrative claim focused on his allegations that he was beaten and did

   not receive proper medical treatment. See Ex. 3, Decl. of Paula Trujillo at ¶ 10 and Att. 2. Similar

   to the claim in Barnes, the claim makes no mention of the possibility that either the alleged

   beatings or Plaintiff’s injuries were the result of negligence by persons in the officers’ supervisory

   chain. Id. If Plaintiff had alleged facts related to a failure to supervise, those allegations would

   have required investigation into completely different aspects of the incident and BOP’s operations.

   Since the agency was not afforded an opportunity to investigate this claim, it must be dismissed

   under Fed. R. Civ. P. 12(b)(1). See Lopez, 823 F.3d at 977 (finding that district court lacked
                                                   18
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 19 of 20




   subject matter jurisdiction over FTCA claim that had not been properly exhausted).

          Failure to state a claim. In order to state a claim for negligent supervision under Colorado

   law, a plaintiff must allege that the defendant “knew his employee posed a risk of harm to the

   plaintiff and that the harm that occurred was a foreseeable manifestation of that risk.” Keller v.

   Koca, 111 P.3d 445, 446 (Colo. 2005) (citations omitted); see also Destefano v. Grabrian, 763

   P.2d 275, 288 (Colo. 1988) (“[A] person who knows or should have known that an employee’s

   conduct would subject third parties to an unreasonable risk of harm may be directly liable to third

   parties for harm proximately caused by his conduct.”). Here, Plaintiff has made no allegations that

   any BOP supervisory official knew that any of the officers involved in the alleged beatings posed

   an unreasonable risk of harm to either him specifically or to any other inmate(s). Although

   Plaintiff alleges that several of the officers have a “reputation” of abusing prisoners and then

   fabricating incident reports against those prisoners, SAC at ¶ 67, Plaintiff does not plead specific

   facts regarding these incidents nor does he allege that any of the officers’ supervisors were aware

   of these “reputations.” Indeed, the allegation that the officers fabricated incident reports to cover

   up abuses suggests that BOP supervisory officials would not have known about the alleged abuse.

   Accordingly, Plaintiff has failed to state a claim of negligent supervision under Colorado law. See

   De Gomez v. Adams Cty., No. 20-cv-01824-CMA-NYW, 2021 WL 1581241, at *12 (D. Colo. Feb.

   23, 2021), adopted, 2021 WL 1577793 (D. Colo. April 22, 2021) (recommending dismissal of

   negligent supervision claim because complaint failed to sufficiently allege that the employer “knew

   that a particular employee (or employees) posed an undue risk of harm to inmates”).

                                             CONCLUSION

          The Court should dismiss the following claims of the SAC (ECF No. 64): the First

   Amendment claim (against Brush); the excessive force and failure-to-intervene claims (against
                                                19
Case 1:20-cv-02516-RBJ-KMT Document 71 Filed 07/27/21 USDC Colorado Page 20 of 20




   Brush, Miller, Espinoza, Murton, Armijo, and Osagie); the deliberate indifference claims (against

   Osagie, Huddleston, and Jones); and the negligent supervision claim (against the United States).

          Respectfully submitted on this 27th day of July, 2021.

                                                         MATTHEW T. KIRSCH
                                                         Acting United States Attorney

                                                         s/ Jennifer R. Lake
                                                         Jennifer R. Lake
                                                         Assistant United States Attorney
                                                         United States Attorney’s Office
                                                         1801 California Street, Suite1600
                                                         Denver, CO 80202
                                                         Telephone: 303-454-0100
                                                         E-mail: jennifer.lake@usdoj.gov

                                                         Counsel for Defendants




                              CERTIFICATE OF SERVICE (CM/ECF)

           I hereby certify that on July 27, 2021, I served the foregoing document, including copies of
   any unpublished decisions cited therein, on the following non-CM/ECF participant in the manner
   indicated:

   Khalfan Khamis Mohamed (U.S. mail)
   Reg. No. 44623-054
   ADX – Florence
   P.O. Box 8500
   Florence, CO 81226

                                                 s/ Jennifer R. Lake
                                                 Jennifer R. Lake
                                                 United States Attorney’s Office




                                                    20
